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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
DAVID E. YEZEK,


                                   Plaintiff(s),
                                                                 MEDIATION
                                                               CERTIFICATION

                                                                  19 - cv - ______
                                                                ______      1574
                              v.

VILLAGE OF GOWANDA POLICE
DEPARTMENT, et al.,


                                Defendant(s).

__________________________________________



   I hereby certify that:

   The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.
✔ Mediation session was held on ______________.
                                    8/31/22

   ✔ Case has settled. (Comment if necessary).
       Case has settled in part. (Comment below). Mediation will continue on________.

       Case has settled in part. (Comment below). Mediation is complete.

       Case has not settled. Mediation will continue on ________________________.

        Case has not settled. Mediation is complete. The case will proceed toward trial
       pursuant to the Court's scheduling order.


Date: ______________
      09/13/2022                               Mediator: /S/ __________________________
                                                             Michael Menard

Additional Comments:
________________________________________________________________________
________________________________________________________________________
________________________________________________________________________
